                                        NO. 12-24-00230-CR
                                        NO. 12-24-00231-CR

                              IN THE COURT OF APPEALS
                 TWELFTH COURT OF APPEALS DISTRICT
                                           TYLER, TEXAS


IN RE:                                                   §

WILLIAM L. SKINNER, III,                                 §        ORIGINAL PROCEEDING

RELATOR                                                  §

                                        MEMORANDUM OPINION
                                            PER CURIAM
        William L. Skinner, III, acting pro se, filed this original proceeding to challenge
Respondent’s failure to rule on his motion to withdraw guilty plea. 1 On July 22, 2024, the Clerk
of this Court informed Relator that his petition fails to comply with appellate Rules 52.3(c)-
(g), 52.7, and 9.5.        See TEX. R. APP. P. 52.3 (contents of petition);                      TEX. R. APP.
P. 52.7 (record); TEX. R. APP. P. 9.5 (service). The notice warned that the petition would be
referred to this Court for dismissal unless Relator provided an amended petition on or before
August 1. 2 Relator did not file an amended petition and the record, nor did he otherwise respond
to this Court’s notice.



        1
         Respondent is the Honorable Alfonso F. Charles, Judge of the 124th District Court in Gregg County,
Texas. The State of Texas is the Real Party in Interest.

        2
           Pro se litigants are held to the same standards as licensed attorneys and must comply with all applicable
rules of procedure; otherwise, pro se litigants would benefit from an unfair advantage over parties represented by
counsel. In re Guerrero, No. 12-21-00100-CR, 2021 WL 3412558, at *1 n.3 (Tex. App.—Tyler Aug. 4, 2021, no
pet.) (mem. op., not designated for publication).
         Generally, a party seeking mandamus relief must bring forward all that is necessary to
establish his claim for mandamus relief. See TEX. R. APP. P. 52. Texas Rule of Appellate
Procedure 52.7 requires the relator to file a record as part of his petition in an original
proceeding. TEX. R. APP. P. 52.7. Specifically, a relator must file (1) a certified or sworn copy
of every document that is material to his claim for relief and that was filed in any underlying
proceeding; and (2) “a properly authenticated transcript of any relevant testimony from any
underlying proceeding, including any exhibits offered in evidence, or a statement that no
testimony was adduced in connection with the matter complained.” TEX. R. APP. P. 52.7(a). It
is a relator’s burden to provide this court with a record sufficient to establish the right to
extraordinary relief. See In re Daisy, No. 12-13-00266-CR, 2014 WL 5577068, at *2 (Tex.
App.–Tyler Aug. 29, 2014, orig. proceeding) (mem. op., not designated for publication).
         In this case, Relator did not provide a record in accordance with Rule 52.7. Absent a
record, we cannot determine whether Relator is entitled to mandamus relief. See In re
McCreary, No. 12-15-00067-CR, 2015 WL 1395783 (Tex. App.–Tyler Mar. 25, 2015, orig.
proceeding) (per curiam) (mem. op., not designated for publication). Accordingly, we deny
Relator’s petition for writ of mandamus.




Opinion delivered August 7, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.



                                             (DO NOT PUBLISH)




                                                          2
                                  COURT OF APPEALS
     TWELFTH COURT OF APPEALS DISTRICT OF TEXAS
                                          JUDGMENT


                                           AUGUST 7, 2024

                                        NO. 12-24-00230-CR



                                   WILLIAM L. SKINNER, III,
                                          Relator
                                             V.

                           HON. JUDGE F. ALFONSO CHARLES,
                                      Respondent


                                       ORIGINAL PROCEEDING

              ON THIS DAY came to be heard the petition for writ of mandamus filed by
William L. Skinner, III; who is the relator in appellate cause number 12-24-00230-CR and the
defendant in trial court cause number 54561-B (Count I), formerly pending on the docket of the
124th Judicial District Court of Gregg County, Texas. Said petition for writ of mandamus
having been filed herein on July 22, 2024, and the same having been duly considered, because it
is the opinion of this Court that the writ should not issue, it is therefore CONSIDERED,
ADJUDGED and ORDERED that the said petition for writ of mandamus be, and the same is,
hereby denied.
                   By per curiam opinion.
                   Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J.
                                  COURT OF APPEALS
     TWELFTH COURT OF APPEALS DISTRICT OF TEXAS
                                          JUDGMENT


                                           AUGUST 7, 2024

                                        NO. 12-24-00231-CR



                                   WILLIAM L. SKINNER, III,
                                          Relator
                                             V.

                           HON. JUDGE F. ALFONSO CHARLES,
                                      Respondent


                                       ORIGINAL PROCEEDING

              ON THIS DAY came to be heard the petition for writ of mandamus filed by
William L. Skinner, III; who is the relator in appellate cause number 12-24-00231-CR and the
defendant in trial court cause number 54561-B (Count II), formerly pending on the docket of the
124th Judicial District Court of Gregg County, Texas. Said petition for writ of mandamus
having been filed herein on July 22, 2024, and the same having been duly considered, because it
is the opinion of this Court that the writ should not issue, it is therefore CONSIDERED,
ADJUDGED and ORDERED that the said petition for writ of mandamus be, and the same is,
hereby denied.
                   By per curiam opinion.
                   Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J.
